                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

                                        No. 7:23-CV-897

 IN RE:                                         )   MOTION FOR PARTIAL
                                                )   SUMMARY JUDGMENT OF
 CAMP LEJEUNE                                   )   PLAINTIFFS JAMES KEY, II, CAROL
 WATER LITIGATION                               )   BASSANO, EDDIE MAE MILLER,
                                                )   AND RACHAEL ARMSTRONG ON
 This Document Relates to:                      )   CLJA LEGAL REPRESENTATIVE
 ALL CASES                                      )   PROCEDURE
                                                )

            The Plaintiffs’ Leadership Group (“PLG”), on behalf of Plaintiffs James Key, II,

Carol Bassano, Eddie Mae Miller, and Rachael Armstrong (collectively “Plaintiffs”),

moves under Rule 56 of the Federal Rules of Civil Procedure and Local Civil Rules 7.1

and 56.1 for partial summary judgment and requests that the Court find that: (1) all

Plaintiffs properly presented their administrative claims to the Department of the Navy

and exhausted their administrative remedies under the Camp Lejeune Justice Act; and

(2) all Plaintiffs are proper legal representatives under the CLJA.

            In support of their Motion, Plaintiffs submit, pursuant to Local Civil Rule

56.1(a)(1), a separate statement in numbered paragraphs of the material facts as to

which Plaintiffs contend there is no genuine dispute.            Plaintiffs further submit

Plaintiffs’ memorandum of law in support of their motion for partial summary

judgment, filed contemporaneously herewith.

            WHEREFORE, Plaintiffs request that this Court grant partial summary

judgment as set forth above and in the accompanying memorandum.

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               This the 1st day of May, 2024.



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